




NO. 07-06-0278-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



SEPTEMBER 5, 2006

______________________________



DONNY EISENBACH,



Appellant



v.



THE STATE OF TEXAS,



Appellee

_________________________________



FROM THE COUNTY COURT AT LAW OF SMITH COUNTY;



NO. 001-80914-06; HON. JERRY CALHOON, PRESIDING

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ORDER OF DISMISSAL

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Before QUINN, C.J., and REAVIS and CAMPBELL, JJ.

Appellant, Donny Eisenbach, appeals from an order revoking his community supervision. &nbsp;The record does not contain a certification of his right to appeal as required by Texas Rule of Appellate Procedure 25.2(d). &nbsp;Through a letter dated August 3, 2006, this court notified the trial court, the district clerk, the district attorney and appellant of this omission and the need for the certification. &nbsp;The certification is included in the clerk’s record and states that this case is a plea bargain case, and the defendant has no right of appeal. &nbsp;Consequently, we dismiss the appeal.

Accordingly, the appeal is dismissed.



Per Curiam



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